CaSe 8:18-cV-00560-C.]C-KES Document 13 Filed 04/10/18 Page 1 of 4 Page |D #:40

Name and address:
Manning Law, APC
Ioscph R, Manning, Ir. {SBN 223381)
Michae] I. Manning, Esq. (SBN 286879)
4567 MacArthur Blvd.. Suite 150
Newport Beach. CA 92660

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA_

 

 

 

Patricia Filardi, et al. CASE NUMBER
Plaint.ilT(s], 8:18-cv-00560
v.
THF. ansch AT PELICAN HILL, Ll,c, a unaware limited APPLICATION OF NON-RESIDENT ATTORNEY
liability company; and DOES 1 to 50, inclusive TO APPEAR IN A SPECIFIC CASE
Defendant{s), PRO HAC VICE

 

 

IES'[`RUCTLONS FOR APPI.[CAH l§

(1) The attorney seeking to appear pro hac vice must complete Section l ofthis Application, personally sign, in ink, the certification in
Section H, and have the designated Local Coanscl sign in Section III. BLECTRONIC SIGNATM¥ES ARE NOTACCEPTED.
Space to supplement responses is provided fn Section IV. Tlre applicant must also attach a Certr]lcatc of Good Standing ( issued
within the lost 30 days)ji~om eveiystate bar to which he or she is admitted-failure to do so will be grounds for denying the
Application. Scan the completed Application with its original ink signature together wi th any attachment(s). to a single Portable
Docament Format (PDF)j'ile.

(2} Have the designated Local Coanselfz`le the Applicaiion electronically (using the C`ourt's CM/ECFSystem,l, attach a Proposed Orcler
(asing Forrn G-64 ORDER, available from the Coart's wellsitej, andpay the required 3325)‘ee online at the time of filing (asing a
credit card). Thefce is required for each case in which the applicant files an Application. Failure to pay thefee at the time of filing
will be grounds for denying the Application. Ont-of-strtte federal government attorneys are not required to pay the $325fee.
(Certain attornq).s for the Uniteci States are also exempt from the requirement of applying for pro hac vice stotas. See L.R. 83-2_1,4.)
A copy ofthe G-64 ORDER in Word or Wora'Pelj"ect format must be entailed to the generic chambers entail address L.l{. 5-4.'1.2.

snchoN 1 - l_nF_QRMATIog

 

 

 

 

 

 

 

Dann, Marc E.
Applicant's Namc ¢'Lost Name, First Narne 6- Mia'dlc Initial) check here cf federal government attorney E|
Dannleaw
l"imz/Agency Name
2728 Euclid Ave., Suite 300 (216) 373~0539 (216] 373-0536
Tele_ot¢onc Namber Fax Namber
Street Acla`ress
Clevclancl, OH 441 15 mdann@dannlaw.com
City, Siale, Zip Code E-mnll Aa`dress

I have been retained to represent the following parties:
Patricia Filardi. et a|. |§c:] plainti§'(s) l:| Defendant(s) |:l Otlier:
|:] Plainti,f}“l’s) |:| Defendant(s) m Otlrer:

 

 

 

Name(s) ofParty(les) Represented_

List all state and federal courts {'anluding appellate courts} to which the applicant has been aclmittccl, and provide the current status of his or
her membership Use Section IV if more room is needed, or to provide additional information

Name o o tr Dg{e of Admtssion Acg'_\,ge Mgmber in §:QQ_¢§ Stanrlir[gf {if not, please explafnl
Yes.

 

 

Ohio Supreme Court Nov. 1987
n USDC Northern District of Ohio Oct. 1991 Yes.
USDC Southcrn District of Ohio Mar. 2006 Yes.

 

 

G-B*I» (tSt'I E} APPLICAT]ON OF NON-RESIDENT ATTORNEY '1`0 J\.PPEAR lN A SPEC[FIC CASE PRO H'AC VICE Pagc 1 of 3

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List all cases in which the applicant has applied to this Court f`or pro hac vice status in the previous three years (cont_inue in Section IV if
necded):

 

Cose Numher lj'tlc of Action Date of Appllcatr'on Qran tcrl g De,'_t;`ed?_
8:17-cv-2222 Kacur v. Alteryx, Inc. ]an. 25, 2018 Granted
8:17-cv~2232 Carson v. Expcrian Informatjon Services, Inc. ]an. 25, 2018 Granted

 

 

 

 

lf any pro hac vice applications submitted within the past three {3) years have been denied by the Court. please cxplain:
N;‘A

 

 

 

 

l-las the applicant previously registered as a CMlECF user in the Central District of California? Yes g No
If yes, was the applicants CMlBCF User account associated with the e~lnail address provided above? E| Yes g No

mclann@dannlaw.com
Previous E»mail Used (ti'applicable)

 

Attorneys must he registered for the Court's Case Manugement/Blectronic Case I-`iling ("CM/ECF") System to he admitted to practice pro hac
vice in this Court. Submission of this Appllcat:'on will constitute your registration for re~registratlon) as a CM/.ECF User. if the Court signs an
Om‘er granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will he associated with your cuse. Pursoani to Local Rulc 5-3.2.3. registering as a CM/ECF Uscr is deemed consent for purposes ofFecl. R. Civ.
P. 5(b)(2)(E). to electronic service of documents through the CM/ECF System. You have the right to withhold or revoke your consent to
electronic service at any time; simply complete and return a C`entral District Elec!ronic Setvice Bxentption Form (Form G“O$, available from
the Court‘s wehsite). if the C.'ourt receives an Electronic Service Exemption Forrn from you, you will no longer receive notice by e-mail when
Court orders or other documents arejiled in cases in which you are counsel of record; instead, copies of such documents will be sent to you
through the mail

SECTION II - CERTIFICA'I`IOLJ

I declare under penalty of perjury that:

(l) All of the above information is true and correct.

[2} I am not a resident of the State of California. I am not regularly employed in. or engaged in substantial business,
professional, or other activities in the Statc of California.

(3) l am not currently suspended -from and have never been disbarred from practice in any court,

(4) I am familiar with the Court's Local Civil and Crirninal Rulcs, the Federal Rulcs of Civil and Crimina| Procedure,
and the Federal Rules oFEvldence.

(5} I designate the attorney listed in Scction Ill bclow, who is a member in good standing of thc Bar ol`thls Courl and
maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local
Rule 83-2.1.3.4.

 

 

Dated April 4, 2018 Marc E. D)’ftjl
Appiic s amet’§lase e or print}
Appti‘c'ant's Signature

 

G-Gtt (6.‘16} APPLICATION OF NON-RESIDENT A"I'I`ORNEY '1`0 APPEAR lN A SPECI'FIC CASE PRO HAC VICE Pagc 2 ol`3

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SECTION III - DESIGNATION OF LOC§!: C§ §§m§§f‘

Manning, Ir., ]oseph R.
Designee's Nante (Last Name, Ft`rst Narne d~ Middle Initl'at')

Mannng Law. APC

 

 

 

 

 

l""irm/Agency Name
esso mcarthur Blvd., suite 150 i949) 200-8755 tBGéJ 843-3308
Telephone N:onher Fax Nttrnher
Street Address joe@manninglawoft`iee.com
E~rnat'l Ada`ress

Newport Beach, CA 9266[}

City, State, Zip Code 223331
Designee's Cali,l’ornia State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare linder penalty of perjury that I maintain an office in the
Central District of California for the practice oflaw.

Dateri April 4, 2018 Ioseph R. Manning. Ir.

 

 

Additional Court Adrnission for Marc E. Dann

US Ba.nl<.ruptcy Court Northcrn District of Ohio October 8, 1991
US Bankruptcy Court Soul.'hern District of()hio March 28. 2016
USDC - Northern District olelinois 2015

USDC - Northern District oflndiana 2016

Sixth Circu`tt Court of Appeals April 1991

 

 

 

 

G-64f6}15} APPLICAT[ON BF NON-RESIDBNT A'I'I'ORNEY TO APPEJ\R [N il SPECIFIC CASE PRO HJ\C VICE Page 3 of$

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The Supreme Court ot` Ohio

CERTIFICATE OF GOOD STANI)ING

I, GINA WHITE PALMER, Director of the Attorney Serviccs Division of the
Suprcme Court of Ohio, do hereby certify that l am the custodian of the records of the
Oftice of Attorney Services of the Supreme Court and that the Attorney Services Division
is responsible for reviewing Court records to determine the status of Ohio attorneys I
further certify that, having fulfilled all of the requirements for admission to the practice of
law in Ohio,

Marc Edward Dann
Attorney Registration No. 0039425

was admitted to the practice of law in Ohio on Novcmbcr 16, 198?; has registered as an
active attorney pursuant to the Suprcme Court Rulcs for the Government of the Bar of
Ohjo; is in good standing with the Supremc Court of OhiO; and is entitled to practice law
in this statc.

IN TESTIMONY WHEREOF, I have
subscribed my name and affixed the seal of thc
Supreme Court, this 23rd day of March, 201 8.

GINA WHITE PALMER

Dt'rector, Attorney Ser'vt`ces Division

made § eden/44

Minerva B Elizaga
Senior Attorney Ser vices Couns el

